                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                         AT NASHVILLE

JILL MARIE FITCHEARD,                                 )
                                                      )
               Plaintiff,                             )
                                                      )       No. 3:22-CV-00638
v.                                                    )       Judge Truager
                                                      )
METROPOLITAN GOVERNMENT OF                            )
NASHVILLE AND DAVIDSON                                )
COUNTY,                                               )
                                                      )
               Defendant.                             )

                                      NOTICE OF APPEARANCE

               Mallory Ricci hereby gives notice of her notice of appearance as counsel of record for

Defendant, the Metropolitan Government of Nashville and Davidson County.

                                                  Respectfully submitted by:

                                                  THE DEPARTMENT OF LAW OF THE
                                                  METROPOLITAN GOVERNMENT OF
                                                  NASHVILLE AND DAVIDSON COUNTY
                                                  WALLACE W. DIETZ (#9949)
                                                  DIRECTOR OF LAW


                                                  /s/ Mallory Ricci
                                                  Melissa Roberge, BPR #26230
                                                  Mallory Ricci, BPR #32492
                                                  SENIOR COUNSEL
                                                  Metropolitan Courthouse, Suite 108
                                                  P.O. Box 196300
                                                  Nashville, TN 37219
                                                  melissa.roberge@nashville.gov
                                                  mallory.ricci@nashville.gov
                                                  Attorneys for Defendant




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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing document has been
served via U.S. Mail to:

      Jill Marie Fitcheard
      2232 Arbor Pointe Way
      Hermitage, TN 37076

on this 22nd day of August, 2022.


                                        /s/ Mallory Ricci
                                        Mallory Ricci




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